     Case 3:18-cv-00600-RCJ-WGC Document 40 Filed 08/27/19 Page 1 of 4




 1 LUKE A. BUSBY, ESQ
   Nevada Bar No. 10319
 2 LUKE ANDREW BUSBY, LTD.
   316 California Ave.
 3 Reno, Nevada 89509
   775-453-0112
 4 luke@lukeandrewbusbyltd.com
   Attorney for the Plaintiff
 5

 6                             UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                              ***
 9    COURAGE UHUMWNOMA OSAWE,
10                         Plaintiff,                 Case No.: 3:18-cv-00600-RCJ-WGC
      vs.
11
      DMV INVESTIGATOR JENNIFER
12    TINSLEY, DMV INVESTIGATOR                       NOTICE OF APPEAL
      BRIAN BOWLES, DMV
13    INVESTIGATOR WILLIAM LYONS
      and DMV SERGEANT TODD
14    PARDINI,
15                     Defendants.
      _____________________________________/
16

17
            Notice is hereby given that COURAGE UHUMWNOMA OSAWE, Plaintiff in the
18
     above-named case, hereby appeals to the United States Court of Appeals for the Ninth
19
     Circuit from the Order entered in this action on August 8, 2019, attached hereto as
20
     Exhibit 1.
21
                               REPRESENTATION STATEMENT
22
            The undersigned represents Plaintiff COURAGE UHUMWNOMA OSAWE and
23
     no other party. Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure
24
     and Circuit Rule 3-2(b), Plaintiffs-Appellants submit this Representation Statement.
25
     The following list identifies all parties to the action, and it identifies their respective
26
     counsel by name, firm, address, telephone number, and e-mail, where appropriate:
27

28


                                                 1
     Case 3:18-cv-00600-RCJ-WGC Document 40 Filed 08/27/19 Page 2 of 4




 1         Plaintiff

 2         COURAGE UHUMWNOMA OSAWE

 3         Counsel of Record:

 4
           Luke Busby, Esq.
 5
           316 California Ave.
 6         Reno, Nevada 89501
           (775) 453-0112 (Dial Area Code)
 7         (775) 403-2192 (Fax)
 8         luke@lukeandrewbusbyltd.com

 9
           Defendants
10
           DMV INVESTIGATOR JENNIFER TINSLEY, DMV INVESTIGATOR BRIAN
11
           BOWLES, DMV INVESTIGATOR WILLIAM LYONS, and DMV SERGEANT
12
           TODD PARDINI.
13
           Counsel of Record:
14

15
           AARON D. FORD
16         Nevada Attorney General
           NATHAN L. HASTINGS
17
           Senior Deputy Attorney General
18         State of Nevada
           Office of the Attorney General
19         555 Wright Way
20         Carson City, NV 8971
           NHastings@ag.nv.gov
21
           Attorneys for the Defendants
22
           DATED this Tuesday, August 27, 2019
23

24                                          By:______________________________
                                              LUKE BUSBY, ESQ.
25
                                              NEVADA STATE BAR NO. 10319
26                                            316 CALIFORNIA AVE #82
                                               RENO, NV 89509
27                                            775-453-0112
28                                            LUKE@LUKEANDREWBUSBYLTD.COM
                                              ATTORNEY FOR PLAINTIFF

                                              2
     Case 3:18-cv-00600-RCJ-WGC Document 40 Filed 08/27/19 Page 3 of 4




 1
                                      EXHIBITS
 2

 3      1. AUGUST 8, 2019 ORDER
 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28


                                          3
     Case 3:18-cv-00600-RCJ-WGC Document 40 Filed 08/27/19 Page 4 of 4




 1                                CERTIFICATE OF SERVICE

 2

 3          Pursuant to FRCP 5, I certify that on the date shown below, I caused service to

 4 be completed of a true and correct copy of the foregoing pleading by:

 5
     ______       personally delivering;
 6
     ______       delivery via Reno/Carson Messenger Service;
 7

 8 ______         sending via Federal Express (or other overnight delivery service);

 9 ______         depositing for mailing in the U.S. mail, with sufficient postage affixed
10                thereto; or,

11      X         delivery via electronic means (fax, eflex, NEF, etc.) to:
12
                        AARON D. FORD
13                      Attorney General
                        NATHAN L. HASTINGS (Bar No. 11593)
14                      Senior Deputy Attorney General
15                      State of Nevada
                        Office of the Attorney General
16                      555 Wright Way
17                      Carson City, NV 8971

18                DATED this Tuesday, August 27, 2019
19
                                                    By:___________________________
20                                                  LUKE BUSBY, ESQ.
                                                    NEVADA STATE BAR NO. 10319
21                                                  316 CALIFORNIA AVE #82
22                                                  RENO, NV 89509
                                                    775-453-0112
23                                                  LUKE@LUKEANDREWBUSBYLTD.COM
                                                    ATTORNEY FOR PLAINTIFF
24

25

26

27

28


                                                4
